Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 1 of 30 Page ID #:8181




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   7

   8

   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,         Case No. 2:20-CV-9091-PA-AS
  13                    Plaintiff,         PLAINTIFF THRIVE NATURAL
                                           CARE, INC.’S DESIGNATIONS
  14          v.                           FROM PERSONAL DEPOSITION
                                           OF BRENDAN GARDNER-YOUNG
  15    THRIVE CAUSEMETICS, INC.,          IN LIEU OF DIRECT
                                           EXAMINATION TRIAL
  16                    Defendant.         DECLARATION
  17                                       Hon. Percy Anderson
                                           United States District Court Judge
  18                                       Trial Date: November 9, 2021
                                           Time: 9:00 a.m.
  19                                       Courtroom: 9A, 350 W. 1st Street, 9th
                                           Floor, Los Angeles, California 90012
  20

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                                                           PLAINTIFF’S DESIGNATIONS FROM
                                                      GARDNER-YOUNG PERSONAL DEPOSITION
                                                               CASE NO. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 2 of 30 Page ID #:8182




   1         For its direct testimony in the bench trial scheduled in this matter, Plaintiff
   2   Thrive Natural Care, Inc. (“Thrive”) submits the following designations from the
   3   Personal Deposition of Brendan Gardner-Young, the Head of Technology for
   4   Defendant Thrive Causemetics, Inc. (“TCI”), in lieu of a trial declaration for TCI’s
   5   witness. The designations also include the referenced Trial Exhibits, TCI’s counter-
   6   designations, and TCI’s objections together with Thrive’s responses.
   7

   8   Dated: October 26, 2021                 Respectfully submitted,
   9                                           THE MCARTHUR LAW FIRM, PC
  10
                                               By /s/ Stephen McArthur
  11
                                               Stephen C. McArthur
  12                                           Thomas E. Dietrich
  13                                           Attorneys for Plaintiff Thrive Natural Care,
                                               Inc.
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                                                                 PLAINTIFF’S DESIGNATIONS FROM
                                                            GARDNER-YOUNG PERSONAL DEPOSITION
                                                  -1-                CASE NO. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 3 of 30 Page ID #:8183




           PERSONAL DEPOSITION OF BRENDAN GARDNER-YOUNG


Deposition Designation                                   Objection & Response

      Plaintiff’s Designation of Brendan Gardner-Young Personal Deposition
Plaintiff’s Designation of B. Gardner-Young (6:15-7:1)   Defendant’s Objections:

Page 6                                                   Page 6:15-7:1, 6-7:
15    Q.    Do you know Karissa Bodnar?                  Irrelevant, Fed. R. Evid.
16    A.    Yes.                                         401, 402; Prejudicial, Fed.
17    Q.    And how do you know Ms. Bodnar?              R. Evid. 403
18    A.    I work with her.
19    Q.    Do you have any other relationship with      Plaintiff’s Response:
20          Ms. Bodnar?
21    A.    Yes.                                         Mr. Gardner-Young’s long-
22    Q.    What is that?                                time romantic relationship
23    A.    She's my girlfriend.                         with Defendant’s CEO is
24    Q.    Okay. And how long have you been in a        obviously relevant to
25          romantic relationship with Ms. Bodnar?       witness bias. United States
Page 7                                                   v. Hankey, 203 F.3d 1160,
1     A.    Ten years.                                   1171 (9th Cir. 2000)
                                                         (“Evidence is relevant . . . if
                                                         it has a mere tendency to
                                                         impeach a witness'
                                                         credibility by a showing of
                                                         bias”).
Plaintiff’s Designation of B. Gardner-Young (8:6-7)      Defendant’s Objections:

Page 8                                                   Page 8:6-7: Irrelevant, Fed.
6     Q.    Do you live with Ms. Bodnar?                 R. Evid. 401, 402;
7     A.    Yes.                                         Prejudicial, Fed. R. Evid.
                                                         403

                                                         Plaintiff’s Response:

                                                         Relevant to witness bias.
                                                         United States v. Hankey,
                                           1
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 4 of 30 Page ID #:8184




                                                          203 F.3d 1160, 1171 (9th
                                                          Cir. 2000) (“Evidence is
                                                          relevant . . . if it has a mere
                                                          tendency to impeach a
                                                          witness' credibility by a
                                                          showing of bias”).
Plaintiff’s Designation of B. Gardner-Young (18:13-16)    Defendant’s Objections:

Page 18                                                   Page 18:13-14: Irrelevant,
13    Q.    Do you have any ownership interest in         Fed. R. Evid. 401, 402
14          Thrive Causemetics?
...                                                       Plaintiff’s Response:
16    A.    I do.
                                                          Relevant to witness bias.
                                                          United States v. Hankey,
                                                          203 F.3d 1160, 1171 (9th
                                                          Cir. 2000) (“Evidence is
                                                          relevant . . . if it has a mere
                                                          tendency to impeach a
                                                          witness' credibility by a
                                                          showing of bias”).
Plaintiff’s Designation of B. Gardner-Young (18:23-25)

Page 18
23    Q.    What percentage of Thrive Causemetics'
            shares
24          do you own?
25    A.    I'm not sure of the exact percentage.

Plaintiff’s Designation of B. Gardner-Young (31:16-24)

Page 31
16    Q.    Did you ever do any searching in those days
            to
17          see if Thrive Causemetics' name was being
            used by
18          anybody else?
19    A.    Did I ever do searching? No.


                                         2
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 5 of 30 Page ID #:8185




20    Q.    Are you aware of anybody else doing
            searching?
21    A.    I'm not aware.
22    Q.    Do you know if anybody did a trademark
            search
23          for Thrive for cosmetics?
24    A.    I -- I'm not aware of that either.

Plaintiff’s Designation of B. Gardner-Young (56:3-6)

Page 56
3     Q.    Did you post ads on Facebook?
4     A.    No.
5     Q.    Did somebody do that for Thrive
            Causemetics?
6     A.    I believe so.

Plaintiff’s Designation of B. Gardner-Young (56:18-20)

Page 56
18    Q.    And what kind of advertising did TCI do on
19          Google?
20    A.    Well, I believe it's AdWords.

Plaintiff’s Designation of B. Gardner-Young (76:8-23)

Page 76
8     Q.    What does "impressions" mean?
9     A.    It depends on the platform, but it's the
10          number of times it was shown to a potential
            customer.
11    Q.    That -- the number of times a particular ad
12          was shown to a customer?
13    A.    Correct.
14    Q.    How about "clicks" next to that, what does
15          that mean?
16    A.    The amount of times it was clicked by that
17          customer that had the impression.


                                          3
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 6 of 30 Page ID #:8186




18    Q.    And how about "CTR" next to that, what
            does
19          that mean?
20    A.    It's the percentage of clicks divided by
21          impressions.
22    Q.    What's a CTR, actually?
23    A.    Clickthrough rate.

Plaintiff’s Designation of B. Gardner-Young (77:15-21)

Page 77
15    Q.    How about "CVR," do you know what that
            means?
16    A.    Conversion rate.
17    Q.    And "revenue," do you know what that
            means?
18    A.    Yes.
19    Q.    What?
20    A.    The amount of revenue that TCI got from
            those
21          served ads.

Plaintiff’s Designation of B. Gardner-Young (88:8-15)     Defendant’s Objections:

Page 88                                                   Page 88:11-15: Irrelevant,
8     Q.    Does Thrive Causemetics sell                  Fed. R. Evid. 401, 402;
9           skin care products today?                     Foundation, Fed. R. Evid.
10    A.    Yes.                                          602
11    Q.    What does the term "skin care products"
            mean                                          Plaintiff’s Response:
12          to you?
13    A.    Skin care, I don't know. It's products that   Parties have disputed
14          you would use to -- on your skin to help      whether certain products
            repair and kind                               meet definition of “skincare
15          of preventative.                              products” and this
                                                          testimony is relevant to that
                                                          dispute. Witness has been
                                                          involved with Defendant’s
                                                          products since its inception
                                            4
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 7 of 30 Page ID #:8187




                                                            and demonstrated
                                                            knowledge of the subject
                                                            matter.
Plaintiff’s Designation of B. Gardner-Young (91:12-
92:9)

Page 91
12    (Exhibit No. 44 marked.)
...
21    Q.    So when I'm saying -- do you recognize
            what's
22          shown in Exhibit 44?
23    A.    I do.
24    Q.    This is a screenshot of Thrive Causemetics'
25          skin care webpage; is that correct?
Page 92
1     A.    Yeah. I would call it skin care navigation,
2           but yes.
3     Q.    This would be the skin care navigation
            page?
4     A.    Well, you've got the navigation open and
5           you're on a collection page here, so it's two
            different
6           things.
7     Q.    The page that shows the skin care products,
8           would that be the skin care collection page?
9     A.    Yes.

Plaintiff’s Designation of B. Gardner-Young (95:5-10)       Defendant’s Objections:

Page 95                                                     Page 95:5-10: Foundation,
5     Q.    Does TCI sell products to men?                  Fed. R. Evid. 602
6     A.    Yes.
7     Q.    Does TCI target men with any                    Plaintiff’s Response:
            advertisements?                                 Witness has been involved
8     A.    I do not know.                                  with Defendant since its
9     Q.    Does TCI sell skin care products to men?        inception and demonstrated
10    A.    Yes.                                            knowledge of the subject
                                                            matter of advertising.
                                           5
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 8 of 30 Page ID #:8188




Defendant’s Counter-Designation of Brendan Gardner-
Young (95:11-18) [only if objections to preceding
designation are overruled]:

Page 95
11    Q.    How do you know?
12    A.    Because we sell to everyone.
13    Q.    Do you receive some information that
            indicates
14          a purchaser is male?
15    A.    No.
16    Q.    Do you know what percentage of
            purchasers of
17          products are men?
18    A.    No.

Plaintiff’s Designation of B. Gardner-Young (95:19-20)   Defendant’s Objections:

Page 95                                                  Page 95:19-20: No
19    Q.    Has TCI ever advertised on Amazon?           foundation, Fed. R. Evid.
20    A.    I believe so.                                602

                                                         Plaintiff’s Response:
                                                         Witness has been involved
                                                         with Defendant since its
                                                         inception and demonstrated
                                                         knowledge of the subject
                                                         matter of advertising.
Plaintiff’s Designation of B. Gardner-Young (96:14-
97:19)

Page 96
14    Q.    Do you know if TCI bids on ad words?
15    A.    I believe we do.
16    Q.    And can someone else outbid you for a
            certain
17          ad word?
18    A.    With my knowledge of the Google ad
            network,
                                         6
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 9 of 30 Page ID #:8189




19          yes.
20    Q.    Do you know if TCI has ever bid on the ad
21          word "Thrive"?
22    A.    I do not know.
23    Q.    Do you know if TCI has ever bid on --
24          actually, strike that.
25          Do you know if you can bid on multiple
            words
Page 97
1           as a Google ad word?
2     A.    I believe you can.
3     Q.    Do you know if TCI has ever bid on the ad
            word
4           "Thrive Natural Care"?
5     A.    To my knowledge, we have not bid on that.
6     Q.    How do you know?
7     A.    Based on the report generation for this case.
8     Q.    Did you generate a report for this case?
9     A.    I did.
10    Q.    Where did you generate that report from?
11    A.    Google Ads.
12    Q.    Do you know -- strike that.
13          What did the report you generated -- what
            data
14          did it contain?
15    A.    It contained our Google ad words reporting
            or
16          history.
17    Q.    That would be a history of ad words
            purchased
18          by TCI?
19    A.    Yes.

Plaintiff’s Designation of B. Gardner-Young (97:20)

Page 97
      20(Exhibit No. 45 marked.)

Plaintiff’s Designation of B. Gardner-Young (98:10-22)
                                           7
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 10 of 30 Page ID #:8190




Page 98
10    Q.    Brendan, just looking at the
11          first page, do you have the exhibit in front
            of you?
12    A.    I do.
13    Q.    Is this page from the report that you referred
14          to?
15    A.    Yes, I believe so.
16    Q.    All right. Is the format consistent with the
17          report that you ran from Google Ads?
18    A.    From my recollection, yes.
19    Q.    And to your understanding, do these pages
            show
20          Google ad words purchased by TCI?
21    A.    I guess I would clarify it to be keywords,
            but
22          yes.

Plaintiff’s Designation of B. Gardner-Young (99:2-7)

Page 99
2     Q.    So these are Google search keywords; is
            that
3           correct?
4     A.    That's my understanding, yes.
5     Q.    And these are keywords purchased by TCI
            for
6           advertising on Google?
7     A.    Correct.

Plaintiff’s Designation of B. Gardner-Young (100:12-23)

Page 100
12    Q.    And the column stating "clicks," is that the
13          number of people that clicked on an ad?
14    A.    From my understanding, yes, during this
15          timeframe. I don't see a timeframe, but yes.
16    Q.    That was actually one of my questions.
                                           8
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 11 of 30 Page ID #:8191




17          What is the timeframe for this report?
18    A.    Are we talking about the report that I
19          generated for this?
20    Q.    Yes.
21    A.    It was all time.
22    Q.    All of TCI's keywords over all time?
23    A.    Yup.

Plaintiff’s Designation of B. Gardner-Young (103:25-
104:7)

Page 103
25    Q.    Why would an entry have been made on this
Page 104
1           report for a certain keyword?
2     A.    Because it was put into a bidding strategy.
3     Q.    What does that mean?
4     A.    That means that keyword showed up and
            was part
5           of our overall -- or a overall Google
            strategy.
6     Q.    To bid on keywords?
7     A.    To bid on keywords.

Plaintiff’s Designation of B. Gardner-Young (105:17-24)

Page 105
17    Q.    Turning to the second page, Bates number
            ends
18          in 110. Towards the bottom, there's an
            entry, a search
19          keyword "Thrive cleanser."
20          Do you see that?
21    A.    Yes.
22    Q.    Does that mean that at some time
23          Thrive Causemetics bid on the keyword
            "Thrive cleanser"?
24    A.    Yes.


                                           9
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 12 of 30 Page ID #:8192




Plaintiff’s Designation of B. Gardner-Young (106:15-21)

Page 106
15    Q.    Moving over in the same
16          column, under Thrive cleanser -- or row,
            sorry. Under
17          the column "clicks" there's a number, 107.
18          Do you see that?
19    A.    Yes.
20    Q.    What does that mean?
21    A.    The number of clicks that keyword resulted
            in.

Plaintiff’s Designation of B. Gardner-Young (108:6-12)

Page 108
6     Q.    But it indicates that an ad with the keyword
7           "Thrive cleanser" was placed on Google; is
            that correct?
8     A.    Yes.
9     Q.    And the impressions column next to it says
10          516. What does that mean?
11    A.    The number of times it showed up on a
            Google
12          property.

Plaintiff’s Designation of B. Gardner-Young (108:25-
109:3)

Page 108
25    Q.    Conversion next to it says 17.68.
Page 109
1           What does that mean?
2     A.    Conversions on the way to find in Google,
            so
3           it was the number of conversions from that
            keyword.



                                          10
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 13 of 30 Page ID #:8193




Plaintiff’s Designation of B. Gardner-Young (109:8-        Defendant’s Objections:
110:22)
                                                           Page 109:8-110:19: No
Page 109                                                   foundation, Fed. R. Evid.
8     Q.    Would that mean somebody who made a            602
            purchase
9           from Thrive Causemetics?                       Page 109:20-110:22:
10    A.    That's the most traditional meaning, but       Irrelevant, Fed. R. Evid.
11          there's others as well.                        401, 402; Prejudicial, Fed.
12    Q.    Do you know of any other meaning               R. Evid. 403 (relates solely
            applicable to                                  to abandoned color
13          this report?                                   cosmetics claim)
14    A.    No, because I don't know the meaning of
15          conversion in this report necessarily.         Plaintiff’s Response:
16    Q.    But the most traditional meaning would be      Witness has been involved
17          somebody who clicked on an ad and then         with Defendant since its
            went to your site                              inception and demonstrated
18          and bought a product; is that correct?         knowledge of the subject
19    A.    Correct.                                       matter of advertising and
20    Q.    Going to the next page, Bates number ends      use of advertising
            in                                             keywords. Further,
21          095.                                           testimony is relevant to
22          Are you with me?                               Defendant’s advertising
23    A.    Yes.                                           practices and purchase of
24    Q.    At the very bottom, there's an entry for       keywords to place
25          "Thrive."                                      advertisements that use
Page 110                                                   Plaintiff’s registered
1           Do you see that?                               trademark to advertise and
2     A.    Yes.                                           sell Defendant’s products,
3     Q.    And does that mean that Thrive                 causing confusion and
            Causemetics bid                                damage to Plaintiff. Also
4           on the keyword "Thrive"?                       relevant to harm to Plaintiff
5     A.    Again, I don't know what the phrase search     in that it demonstrates
6           keyword match is, so I can't say how -- that   Defendant bidding on
            we did.                                        keywords drives up cost for
7     Q.    But it appears in this report showing          Plaintiff to bid on keywords
            keywords                                       which consist of its own
8           that Thrive Causemetics bid on; correct?       registered trademark.
9     A.    Yes.

                                          11
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 14 of 30 Page ID #:8194




10    Q.    And if you move over to impressions, it
            states
11          252,561.
12          Do you see that?
13    A.    Yes.
14    Q.    Does that indicate that an ad was placed
            using
15          this keyword "Thrive"?
16    A.    Yes.
17    Q.    And that it was seen 252,561 times?
18    A.    No, not necessarily seen that many times.
19    Q.    That it appeared on the consumers'
            computer
20          that many times?
21    A.    It appeared on the page somewhere that
            many
22          times.

Plaintiff’s Designation of B. Gardner-Young (111:7-13)    Defendant’s Objections:

Page 111                                                  Page 111:7-13: Irrelevant,
7     Q.    Under clicks, it states                       Fed. R. Evid. 401, 402;
            817,265.                                      Prejudicial, Fed. R. Evid.
9           Do you see that?                              403 (relates solely to
10    A.    Yes.                                          abandoned color cosmetics
11    Q.    So am I correct that means that ad with the   claim)
12          keyword "Thrive" was clicked on over
            17,000 times?                                 Plaintiff’s Response:
13    A.    Yes.
                                                          Witness has been involved
                                                          with Defendant since its
                                                          inception and demonstrated
                                                          knowledge of the subject
                                                          matter of advertising and
                                                          use of advertising
                                                          keywords. Further,
                                                          testimony is relevant to
                                                          Defendant’s advertising
                                                          practices and purchase of

                                          12
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 15 of 30 Page ID #:8195




                                                           keywords to place
                                                           advertisements that use
                                                           Plaintiff’s registered
                                                           trademark to advertise and
                                                           sell Defendant’s products,
                                                           causing confusion and
                                                           damage to Plaintiff.
Plaintiff’s Designation of B. Gardner-Young (112:8-23)

Page 112
8     Q.    Below that three rows, there's an entry for
9           Thrive moisturizer.
10          Do you see that?
11    A.    Yes.
12    Q.    And would that indicate TCI bid on the
            keyword
13          "Thrive moisturizer"?
14    A.    Yes. But, again, I don't know the keyword
15          match type there and if that impacts things.
16    Q.    But it states there were 791 impressions.
17          Do you see that?
18    A.    I do see that.
19    Q.    And that indicates that an ad was placed
            using
20          the keywords "Thrive moisturizer;" correct?
21    A.    Yes.
22    Q.    And it was clicked on 161 times?
23    A.    Correct.

Plaintiff’s Designation of B. Gardner-Young (124:17-24)

Page 124
17    Q.    Has TCI used the phrase "Thrive tribe" in
            any
18          context?
19    A.    Yes.
20    Q.    What context?
21    A.    I have seen it on social media.
22    Q.    How have you seen it on social media?
                                         13
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 16 of 30 Page ID #:8196




23    A.    I remember a few posts where that was
            called
24          out.

Plaintiff’s Designation of B. Gardner-Young (125:8-12)

Page 125
8     Q.    Is TCI still using the phrase "Thrive tribe"
9           in any context?
10    A.    No.
11    Q.    Do you know when that stopped?
12    A.    Middle to early last year.

Plaintiff’s Designation of B. Gardner-Young (125:24-
126:1)

Page 125
24    Q.    Has TCI used the phrase "Thrive lab" in any
25          context?
Page 126
1     A.    Yes.

Plaintiff’s Designation of B. Gardner-Young (126:23-       Defendant’s Objections:
127:3)
                                                           Page 126:23-127:3: No
Page 126                                                   foundation, Fed. R. Evid.
23    Q.    In your view, is the word "Thrive"             602
            important
24          to TCI's brand?                             Plaintiff’s Response:
25    A.    It's part of our name; so...                Witness has been involved
Page 127                                                with Defendant since its
1     Q.     Does that mean it's important to the TCI   inception and demonstrated
2            brand?                                     understanding of
3     A.     Yes.                                       Defendant’s branding
                                                        practices.
Plaintiff’s Designation of B. Gardner-Young (129:19-21) Defendant’s Objections:

Page 129                                                   Page 129:19-21: Irrelevant,
19    Q.    At some point, did TCI have a relationship     Fed. R. Evid. 401, 402;
                                           14
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 17 of 30 Page ID #:8197




20          with Goldman Sachs?                           Prejudicial, Fed. R. Evid.
21    A.    Yes.                                          403

                                                          Plaintiff’s Response:
                                                          Relevant to lay foundation
                                                          for following questions
                                                          relating to potential
                                                          expansion or acquisition of
                                                          Defendant by a much larger
                                                          company, which is directly
                                                          relevant to expansion of
                                                          product lines factor of
                                                          Sleekcraft test.
Plaintiff’s Designation of B. Gardner-Young (130:1-6)     Defendant’s Objections:

Page 130                                                  Page 130:1-6: Irrelevant,
1     Q.    Were -- what kind of business did TCI do      Fed. R. Evid. 401, 402;
            with                                          Prejudicial, Fed. R. Evid.
2           Goldman Sachs?                                403
3     A.    It was more exploration; not necessarily
4           business with them.                           Plaintiff’s Response:
5     Q.    Were you involved in those discussions?       Relevant to lay foundation
6     A.    I was.                                        for following questions
                                                          relating to potential
                                                          expansion or acquisition of
                                                          Defendant by a much larger
                                                          company, which is directly
                                                          relevant to expansion of
                                                          product lines factor of
                                                          Sleekcraft test.
Plaintiff’s Designation of B. Gardner-Young (130:19-      Defendant’s Objections:
131:12)
                                                          Page 130:19-25–131:1-12:
Page 130                                                  Irrelevant, Fed. R. Evid.
19    Q.    Was there discussion of TCI, as a company,    401, 402; Prejudicial, Fed.
20          being acquired by any other entity?           R. Evid. 403
21    A.    There was exploration of that.
22    Q.    Were any acquirers discussed in particular?   Plaintiff’s Response:
23    A.    Potential ones?
                                         15
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 18 of 30 Page ID #:8198




24    Q.    Correct.                                   Relevant to Defendant’s
25    A.    Yes.                                       plans for expansion or
Page 131                                               acquisition of Defendant by
1     Q.    Who?                                       a much larger company,
2     A.    Large beauty conglomerates.                which is directly relevant to
3     Q.    Were names discussed?                      expansion of product lines
4     A.    Yeah, the market was explored.             factor of Sleekcraft test.
5     Q.    What conglomerates were explored as
6           potentially acquiring TCI?
7     A.    L'Oreal, as an example.
8     Q.    Who else?
9     A.    Estée Lauder is another big example from
            the
10          beauty industry.
11    Q.    Who else?
12    A.    The other beauty ones, Unilever.




                                        16
Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 19 of 30 Page ID #:8199




        TRIAL EXHIBIT NO. 44
0   Vegan, Cruelty-Free Skincare - -   X   +                                                          Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 20 of 30 Page ID #:8200
                                                                                                                                                                                                                                                                                                  X

                  i   thrivecausemetics.com/colfections/all-skincare
                                                                                                                                                           Update: C0/10-19 + Hdiel?y'Sri¢r~Oel3ys M:,re Info

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                                                                                              thnve                                                     Makeup             SJcincare.



                                                                                                                                                                                              Ultra-Hydrating Solutions for All Skin Types                                                    X
                                                                                              Featured                  Products                      Value Sets
                                                                                              Shop.ti.JI                Qea:n;er
                                                                                                                                                      51-inc.ari: Value SE:ts.
                                                                                              Nen                       Tonar                         S1cinc:3re + M..kcop V~e Sets:
                                                                                              Best-S:!fers              F3ce5Erum
                                                                                              Holid?y Sets              EyeCram

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                                                                       Skincare.
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                                                                                                             Overnight Sensation- Gentle Resurfacing
                                                                                                                                 Peel
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                                                                                                                                                                                                       Cream"'
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                                                                                                                                                                                                                                                             $32
                                                                                                                                 S62                                                                     518

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                                                                                                                Defying Gravity Eye lifting Cre..;m..                             Liquid Light Ttwrapy All-in-One Face. Serum"'
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Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 21 of 30 Page ID #:8201




        TRIAL EXHIBIT NO. 45
                                            Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 22 of 30 Page ID #:8202
                                                                               Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword             Search             Campaign                   Ad group       Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC   Cost      lmpr.        lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                           keyword                                                      max CPC                                                                    (Abs. Top)     (Top)%                  through   conv.     rate     CPM
                           match                                                                                                                                          %                                conv.
                            type
shop thrive causemetics     Exact    S - Branded - Mobile_Exact   Thrive Causemetics          1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
eyeshadow review                                                  Eyeshadow Review



thrive casmetics            Exact    S - Branded - Mobile_Exact   Thrive Casmetics            1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
eyelashes jackie on line                                          Eyelashes Jackie


thrive casmetics            Exact    S - Branded - Mobile_Exact   Thrive Casmetics            1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
eyelashes coupon store                                            Eyelashes Coupon


order thrive                Exact    S - Branded - Mobile_Exact   Thrive Causemetics          1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
causemetics                                                       Eyeshadow
eyeshadow online
order thrive causmetics     Exact    S - Branded - Mobile_Exact   Thrive Causmetics           1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
makeup online                                                     Makeup


thrive adhesive             Exact    S - Branded - Mobile_Exact   Thrive Adhesive             1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
discount                                                          Discount
shop thrive adhesive        Exact    S - Branded - Mobile_Exact   Thrive Adhesive             1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
coupon website                                                    Coupon
shop thrive beauty          Exact    S - Branded - Mobile_Exact   Thrive Beauty               1.21      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
products sale                                                     Products Sale
thrive cosmetics            Broad    S - Remarketing_ Visitors    Th rive Cosmetics               1     USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
eyebrow pencil                       Converted All Time NB        Eyebrow Pencil
thrive cosmetics lip        Broad    S - Remarketing_ Visitors    Th rive Cosmetics           2.31      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
gloss                                Converted All Time NB        Lip Gloss
thrive causernetics         Exact    S - Branded                  Thrive Causemetics          0.24      USD        7          46        15.22%    0.41     2.85           0.00%     0.00%        2           0      1.42      28.57% 61.96
infinity eyeliner                    Reboot_Desktop_Exact_FE Infinity Eyeliner
                                     MALE
+thrive cosmetics +lip      Broad    S - Branded                  Thrive Lip Gloss                0     USD       16         107        14.95%    1.19     19.08      59.81%       70.09%      0.33          0      57.24      2.08% 178.3
gloss                                Reboot_Desktop_Exact_FE
                                     MALE
+th rive +cosmetics         Broad    S - [Brand] Skincare_Eye     Eye Cream: thrive           1.36      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
+eye +lotion                         Cream                        cosmetics eye
                                                                  lotion
thrive semi permanent       Exact    S - Branded                  Thrive Semi                 0.17      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
brow liner review                    Reboot_Desktop_Exact_FE Permanent
                                     MALE                         Browliner Reviews


thrive cosmetics semi       Exact    S - Branded                  Th rive Cosmetics           0.17      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
permanent browliner                  Reboot_Desktop_Exact_FE Semi Permanent
                                     MALE                    Browliner
thrive matte lip stick      Exact    S - Branded                  Thrive Matte                0.17      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
                                     Reboot_Desktop_Exact_FE Lipstick
                                     MALE
+thrive +lip +balm          Broad    S - [Brand] Lip Oil PP       Lip Oil: thrive lip          0.7      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
                                                                  balm


                                                                                                                            10




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                                            Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 23 of 30 Page ID #:8203
                                                                                 Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword             Search             Campaign                  Ad group          Keyword      Currency   Clicks   Impressions   CTR      Avg.CPC    Cost      lmpr.        lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                           keyword                                                        max CPC                                                                    (Abs. Top)     (Top)%                  through   conv.     rate     CPM
                           match                                                                                                                                            %                                conv.
                            type
thrive eyelashes kristy     Exact    S - Branded - Mobile_Exact    Thrive Eyelashes             1.21     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
discount store                                                     Kristy Discount
thrive causemetics          Exact    S - Branded - Mobile_Exact    Thrive Causemetics           1.21     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
eyeliner infinity review                                           Eyeliner Infinity
                                                                   Review


+thrive +makup              Broad    S - Branded                   Mascara Thrive               0.51     USD        7          16        43.75%    0.23      1.63      100.00%      100.00%        1           0      1.63      14.29% 101.9
                                     Reboot_Desktop_Exact_FE
                                     MALE
thrive causemetics          Exact    S - Branded                   Thrive Causemetics           0.17     USD        0             2       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
infinity brow liner                  Reboot_Desktop_Exact_FE Infinity Browliner
                                     MALE
thrive causemetics          Broad    S - Remarketing_ Visitors     Thrive Causemetics            1.3     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
focus eyeshadow                      Converted All Time NB         Focus Eyeshadow


thrive cosmetics            Broad    S - Remarketing_ Visitors     Th rive Cosmetics            0.71     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
highlighter                          Converted All Time_Tablet     Highlighter


+thrive +causematics        Broad    S - Branded COMs_Desktop Corns                             1.01     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
+com
thrive cosmetics            Exact    MKT_US_S - [Brand]            Th rive Cosmetics            0.39     USD       373        536        69.59%    0.26     98.36       99.25%       99.63%     134.91         0      0.73      36.17% 183.5
                                     Re marketing_Visitors
                                     Converted All Time - Mobile


thrive causernetics         Broad    MKT_US_S - [Brand]            Thrive Causemetics           0.91     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
eyeshadow                            Re marketing_Visitors         Eyeshadow
                                     Converted All Time - Mobile


thrive causmetics           Broad    MKT_US_S- [Brand]             Thrive Causmetics            2.37     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
makeup brushes                       Remarketing_Visitors          Makeup Brushes
                                     Converted All Time - Mobile


thrive cosmetics            Broad    MKT_US_S- [Brand]             Th rive Cosmetics             1.7     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
lipgloss                             Remarketing_Visitors          Lip Gloss
                                     Converted All Time - Mobile


thrive cleanser             Exact    S - [Brand]                   Cleanser: thrive             1.81     USD       107        516        20.74%    0.91     96.97       93.65%       96.70%      17.68         0      5.48      16.52% 187.9
                                     Skincare Cleanser             cleanser
thrive cosmetics blush      Broad    newengen - Branded            Th rive Cosmetics            2.07     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
+review                              Remarketing I MMl ac26        Blush Reviews
thrive lash glue            Broad    newengen - Branded            Thrive Eyelash Glue          2.07     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
+reviews                             Remarketing I MMl ac26        Reviews
thrive causemetics          Broad    newengen - Branded            Thrive Causemetics           2.07     USD        0             0       0.00%      0        0             0.00%     0.00%        0           0        0        0.00%    0
+semipermanent eye                   Remarketing I_MMl ac26        Semi Permanent
liner                                                              Eyeliner




                                                                                                                             27




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                                         Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 24 of 30 Page ID #:8204
                                                                          Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword            Search              Campaign             Ad group        Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC     Cost        lmpr.      lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                          keyword                                                  max CPC                                                                        (Abs. Top)   (Top)%                  through   conv.     rate     CPM
                          match                                                                                                                                       %                                 conv.
                           type
thrive matte lipstick      Exact    MKT_US_S - [Brand] Lips   Lipstick: thrive           0.26      USD       20          87        22.99%    0.28       5.62        69.86%      94.52%      1.99          0      2.82       9.95%   64.6
                                                              matte lipstick
thrive causemetics        Phrase    S - In Market_Dating      Thrive Causemetics         1.88      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
makeup brushes review                                         Makeup Brushes
                                                              Reviews


thrive cosmetics review   Phrase    S - In Market_Dating      Th rive Cosmetics          6.25      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
                                                              Reviews
thrive eyeshadow          Phrase    S - In Market_Dating      Thrive Eyeshadow           2.73      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
review                                                        Reviews
thrive causemetics        Phrase    S - In Market_Dating      Thrive Causemetics         1.88      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
eyelashes review                                              Eyelashes Reviews



thrive causmetics blush   Phrase    S - In Market_Dating      Thrive Causmetics          1.88      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
reviews                                                       Blush Reviews
thrive cosmeticd          Phrase    S - Branded               Th rive Cosmetics              1     USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
                                    Reboot_Mobile- Exact #4
thrive casmetics           Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
coupon                              I_MBl 0a31                Coupon
order thrive casmetics     Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
coupon online                       I_MBl 0a31                Coupon
order thrive beauty        Broad    S - newengen - Branded    Thrive Beauty              2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
products discount                   I_MBl 0a31                Products Discount
thrive casmetics lip       Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
gloss sale                          I_MBl 0a31                Lip Gloss Sale
shop thrive causemetics    Broad    S - newengen - Branded    Thrive Causemetics         2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
eyeliner infinity                   I_MBl 0a31                Eyeliner Infinity


thrive causemetics         Broad    S - newengen - Branded    Thrive Causemetics         2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
brow liner review                   I_MBl 0a31                Brow Liner Review



thrive eyeshadow           Broad    S - newengen - Branded    Thrive Eyeshadow           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
review                              I- MBl 0a31               Review
order thrive casmetics     Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
eyeliner sale                       I_MBl 0a31                Eyeliner Sale
order thrive cosmetics     Broad    S - newengen - Branded    Th rive Cosmetics          2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
coupon                              I_MBl 0a31                Coupon
thrive cosmetics           Broad    S - newengen - Branded    Th rive Cosmetics          1.05      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
mascara amazon                      I_MBl 0a31                Mascara Amazon
thrive casmetics           Broad    S - newengen - Branded    Thrive Casmetics           2.62      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
eyelashes website                   I_MBl 0a31                Eyelashes
thrive makeup ulta        Phrase    MKT_US_S - [Brand]        thrive makeup ulta         1.12      USD        0             0      0.00%       0         0            0.00%      0.00%        0           0        0        0.00%    0
                                    General
thrive                    Phrase    MKT_US_S - [Brand] Pure   thrive                      1.8      USD      17,265    252,561      6.84%     1.11     19,241.19     52.86%      82.60%    3,111.33        0      6.18      18.02% 76.18
                                    Broad Match


                                                                                                                       12




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                                             Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 25 of 30 Page ID #:8205
                                                                                Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search              Campaign                   Ad group         Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC    Cost      lmpr.      lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                         max CPC                                                                     (Abs. Top)   (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                           %                                 conv.
                             type
thrive cosmetics             Broad    S - newengen - Branded        Th rive Cosmetics           2.62        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
brightener sale store                 I DBl f2a6                    Brightener Sale
thrive causemetics           Exact    S - Branded                   Thrive Causemetics          0.36        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
water proof eyeliner                  Reboot_Desktop_BMM_FE Waterproof
                                      MALE                          Eyeliner


thrive lip mate reviews      Exact    S - Branded                   Thrive Lip Mate             0.17        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
                                      Reboot_Desktop_BMM_FE Reviews
                                      MALE
thrive cosmetics lipstick    Exact    S - Branded                   Th rive Cosmetics           0.17        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
review                                Reboot_Desktop_BMM_FE Lipstick Reviews
                                      MALE
thrive cosmetics             Exact    S - Branded                   Th rive Cosmetics           0.17        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
semipermanent eye                     Reboot_Desktop_BMM_FE Semi Permanent
brow liner                            MALE                          Eyebrow Liner
thrive causemetics           Exact    S - Branded                   Thrive Causemetics          0.17        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
focus eye shadow                      Reboot_Desktop_BMM_FE Focus Eyeshadow
reviews                               MALE                          Reviews


thrive liquid balm           Exact    S - [Brand] Skincare_Lip Oil Lip Oil: thrive liquid       1.32        USD       39         340        11.47%    0.96     37.33      93.67%      93.67%      10.04         0      3.72      25.75% 109.8
                                                                    balm
+thrive +beauty              Broad    S - Branded                   Thrive Beauty                0.1        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
+products                             Reboot Tablet Mod Brod        Products
thrive causmetics           Phrase    Branded                       Thrive Causmetics           2.37        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
coupon codes                          Remarketing_Desktop_Phr Coupon Codes
                                      ase
thrive infinity eyebrow     Phrase    Branded                       Thrive Infinity              2.2        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
liner review                          Remarketing_Desktop_Phr Eyebrow Liner
                                      ase                           Reviews
thrive causemetics          Phrase    Branded                       Thrive Causemetics           2.2        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
eyebrow liner reviews                 Remarketing_Desktop_Phr Eyebrow Liner
                                      ase                           Reviews


thrive causemetics           Broad    5-                            Thrive Causemetics                1     USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
eyebrow liner                         Retargeting_Desktop_Broa Eyebrow Liner
                                      d
thrive mascara               Broad    5-                            Thrive Mascara                    0     USD        0             6      0.00%       0        0        16.67%      16.67%        0           0        0        0.00%    0
                                      Retargeting_Desktop_Broa
                                      d
thrive causemetics           Broad    S-                            Thrive Causemetics          2.37        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
liquid lash                           Retargeting_Desktop_Broa Liquid Lash
                                      d
thrive promo code            Exact    S - [Brand] General PP        thrive promo code           4.55        USD       127        421        30.17%    1.71     216.97     99.52%     100.00%      65.94         0      3.29      51.92% 515.4


thrive causmetics lash       Exact    S - Branded_Mobile_Exact      Thrive Causmetics           1.21        USD        0             0      0.00%       0        0          0.00%      0.00%        0           0        0        0.00%    0
glue review                                                         Lash Glue Review



                                                                                                                                15




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                                             Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 26 of 30 Page ID #:8206
                                                                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search              Campaign              Ad group        Keyword       Currency   Clicks   Impressions    CTR      Avg.CPC   Cost     lmpr.        lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                   max CPC                                                                    (Abs. Top)     (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                       %                                conv.
                             type
order thrive                 Broad    S - newengen - Branded     Thrive Causemetics         2.62      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
causernetics coupon                   I_DBl f2a6                 Coupon
store
shop thrive eyeshadow        Broad    S - newengen - Branded     Thrive Eyeshadow           2.62      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
discount store                        I_DBl f2a6                 Discount


thrive make up               Broad    S - Branded                Thrive Makeup               0.1      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
                                      Reboot Tablet Mod Brod
thrive brush review         Phrase    Branded                    Th rive Brush              2.37      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
                                      Remarketing_Desktop_Phr Reviews
                                      ase
thrive eyebrow liner        Phrase    Branded                    Thrive Eyebrow                 1     USD        0             1       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
reviews                               Remarketing_Desktop_Phr Liner Reviews
                                      ase
thrive causemetics          Phrase    Branded                    Thrive Causemetics         2.37      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
semipermanent                         Remarketing_Desktop_Phr Semi Permanent
eyebrow liner                         ase                        Eyebrow Liner


+thrive +holiday +set        Broad    S - [Brand] Holiday Sets   thrive holiday set         0.34      USD        4          20         20.00%    0.24     0.96      47.06%       76.47%       0.2          0       4.8       5.00%   48
                                      2019
+thrive +makeup              Broad    S - [Brand] General PP     thrive makeup              1.04      USD        2             2      100.00%    0.83     1.66     100.00%      100.00%        0           0        0        0.00%   830
+reviews                                                         reviews
order thrive                 Exact    S - Branded_Mobile_Exact   Thrive Causemetics         1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
causemetics coupon                                               Coupon
online
order thrive causmetics      Exact    S - Branded_Mobile_Exact   Thrive Causmetics          1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
lash glue                                                        Lash Glue
shop thrive casmetics        Exact    S - Branded_Mobile_Exact   Thrive Casmetics           1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
brightener review                                                Brightener Review


order thrive casmetics       Exact    S - Branded_Mobile_Exact   Thrive Casmetics           1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
eyeliner                                                         Eyeliner
thrive semipermanent         Broad    S - Branded_Mobile_Exact   Thrive Causemetics         1.45      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
eyeliner                                                         Eyeliner
                                                                 Waterproof


shop thrive causemetics      Exact    S - Branded_Mobile_Exact   Thrive Causemetics         1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
eyeshadow website                                                Eyeshadow


order thrive causmetics      Exact    S - Branded_Mobile_Exact   Thrive Causmetics          1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
eyeshadow website                                                Eyeshadow


order thrive adhesive        Exact    S - Branded_Mobile_Exact   Thrive Adhesive            1.21      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
coupon store                                                     Coupon
thrive casmetics lipstick    Exact    S - Branded_Mobile_Exact   Thrive Casmetics           2.34      USD        0             0       0.00%       0       0            0.00%     0.00%        0           0        0        0.00%    0
review                                                           Lipstick Review



                                                                                                                          21



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                                            Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 27 of 30 Page ID #:8207
                                                                              Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search               Campaign               Ad group       Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC   Cost      lmpr.        lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                    max CPC                                                                    (Abs. Top)     (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                        %                                conv.
                             type
thrive causemetics           Broad    S - Branded                Thrive Causemetics              1     USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
brushes                               Reboot_Mobile- Broad_w/ Brushes
                                      Search Partners
thrive cosmetics infinity   Phrase    S - In Market_Dating       Th rive Cosmetics           1.88      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
waterproof browliner                                             Infinity Waterproof
                                                                 Browliner


thrive beauty products       Broad    MKT_US_S - [Brand]         Thrive Beauty               1.49      USD        1          23        4.35%     0.27     0.27           0.00%     0.00%        0           0        0        0.00% 11.74
                                      Re marketing_Visitors      Products
                                      Converted All
                                      Time_Desktop
thrive causmetics eye        Broad    MKT_US_S - [Brand]         Thrive Causmetics            2.2      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
shadow                                Re marketing_Visitors      Eyeshadow
                                      Converted All
                                      Time_Desktop
thrive liquid lash           Broad    MKT_US_S - [Brand]         Thrive Liquid Lash              1     USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
                                      Re marketing_Visitors
                                      Converted All
                                      Time_Desktop
thrive eyelash glue          Exact    S - Branded                Thrive Eyelash Glue         9.84      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
reviews                               Reboot Mobile Exact #4     Reviews
thrive cosmetics toner       Exact    MKT_US_S - [Brand]         Toner: Thrive               1.16      USD        1          14         7.14%     0.2      0.2      100.00%      100.00%        0           0        0        0.00% 14.29
                                      Skincare                   Cosmetics Toner
thrive lip gloss             Broad    S - Remarketing_Checkout   Thrive Lip Gloss            2.59      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
                                      Visit NB


thrive causmetics            Broad    S - newengen - Branded     Thrive Causmetics           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
adhesive store                        I_MBl 0a31                 Adhesive
thrive casmetics             Broad    S - newengen - Branded     Thrive Casmetics            2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
brightener review                     I_MBl 0a31                 Brightener Review
website
thrive cosmetics brow        Broad    S - newengen - Branded     Th rive Cosmetics           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
liner sale                            I MBl 0a31                 Brow Liner Sale
where to buy thrive          Broad    S - newengen - Branded     Thrive Brightener           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
brightener                            I_MBl 0a31
shop thrive brow liner       Broad    S - newengen - Branded     Thrive Brow Liner           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
review                                I- MBl 0a31                Review
shop thrive adhesive         Broad    S - newengen - Branded     Thrive Adhesive             2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
sale website                          I_MBl 0a31                 Sale
order thrive causmetics      Broad    S - newengen - Branded     Thrive Causmetics           2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
sale store                            I_MBl 0a31                 Sale
thrive adhesive review       Broad    S - newengen - Branded     Thrive Adhesive             2.62      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
website                               I_MBl 0a31                 Review
thrive cos                   Exact    MKT_US_S - [Brand]         thrive cos                  0.58      USD       985       2,322       42.42%    0.Q7     67.99      96.77%       99.04%     259.94         0      0.26      26.39% 29.28
                                      General
thrive causmetics matte      Broad    newengen - Branded         Thrive Causmetics           2.07      USD        0             0      0.00%       0       0             0.00%     0.00%        0           0        0        0.00%    0
lip stick                             Remarketing I_MBl 0005     Matte Lipstick


                                                                                                                           23



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                                          Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 28 of 30 Page ID #:8208
                                                                                  Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword            Search             Campaign                   Ad group           Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC     Cost       lmpr.      lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                          keyword                                                          max CPC                                                                       (Abs. Top)   (Top)%                  through   conv.     rate     CPM
                          match                                                                                                                                              %                                 conv.
                           type
+thrive +causemetics       Broad    S - [Brand] Sets PP           Eyeliner: Lip Liner:           0.58      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
+lip +liner +set                                                  thrive causemetics
                                                                  lip liner set


thrive causemetics         Broad    S - Remarketing_Checkout      Thrive Causemetics                 1     USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
color stick                         Visit Branded                 Color Stick


+thrive +eyebrow           Broad    S - Remarketing_ Visitors     Thrive Eyebrows                 0.4      USD        1             5      20.00%    3.71       3.71       60.00%      60.00%        0           0        0        0.00%   742
                                    Converted All Time_Tablet


thrive                     Broad    MKT_US_S - [Brand]            Thrive                         1.51      USD      12,363     23,305      53.05%    0.73     9,019.46     83.66%      95.86%    4,130.02        0      2.18      33.41%   387
                                    Re marketing_Visitors
                                    Converted All Time - Mobile


+thrive +makeup            Broad    MKT_US_S - [Brand]            Thrive                         0.41      USD       11         110        10.00%     0.7       7.66       93.88%      95.92%      4.03          0       1.9      36.64% 69.64
                                    Re marketing_Visitors
                                    Converted All Time - Mobile


thrive causernetics        Broad    newengen - Branded            Thrive Causemetics                 1     USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
eyebrows +reviews                   Remarketing I_MMl ac26        Eyebrows Reviews



thrive moisturizer         Exact    S - [Brand]                   Moisturizer: thrive             1.7      USD       161        791        20.35%    0.95     152.85       89.44%      95.71%      13.19         0      11.59      8.19% 193.2
                                    Skincare_Moisturizer          moisturizer
thrive causernetics       Phrase    5-                            Thrive Causemetics             2.02      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
brow liner reviews                  Retargeting_Mobile_Phras Browliner Reviews
                                    e


thrive causmetics matte   Phrase    5-                            Thrive Causmetics              2.07      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
lipstick                            Retargeting_Mobile_Phras Matte Lipstick
                                    e
thrive infinity brow      Phrase    5-                            Thrive Infinity                2.02      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
liner review                        Retargeting_Mobile_Phras Browliner Reviews
                                    e
thrive causemetics        Phrase    5-                            Thrive Causemetics             2.07      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
blush review                        Retargeting_Mobile_Phras Blush Reviews
                                    e
thrive cosmetics          Phrase    S-                            Th rive Cosmetics              2.02      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
semipermanent                       Retargeting_Mobile_Phras Semi Permanent
eyeliner review                     e                             Eyeliner Reviews
thrive lip gloss           Exact    MKT_US_S - [Brand]            Thrive Lip Gloss               0.49      USD        0             0      0.00%       0         0           0.00%      0.00%        0           0        0        0.00%    0
                                    Re marketing_Visitors
                                    Converted All
                                    Time_Desktop




                                                                                                                               56



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                                             Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 29 of 30 Page ID #:8209
                                                                                Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search               Campaign                  Ad group      Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC    Cost      lmpr.       lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                      max CPC                                                                     (Abs. Top)    (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                          %                                conv.
                             type
thrive causemetics           Exact    5-                           Thrive Causemetics          3.14      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
semipermanent brow                    Retargeting_Mobile_Exact     Semi Permanent
liner reviews                                                       Browliner Reviews



thrive causemetics lip       Exact    MKT_US_S - [Brand] Lips       Lip Liner: thrive          2.79      USD       507       3,339       15.18%    1.15     581.31     90.18%       95.67%      51.86         0      11.21     10.23% 174.1
liner                                                              causemetics lip
                                                                   liner
thrive causemetics lash      Broad    MKT_US_S - [Brand]           Thrive Causemetics          2.37      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
adhesive                              Re marketing_Visitors        Eyelash Adhesive
                                      Converted All
                                      Time_Desktop
thrive eyelashes             Exact    S - Branded                  Thrive Eyelashes            9.84      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
reviews                               Reboot Mobile Exact #4        Reviews
thrive highlighter           Exact    S - Branded                  Thrive Highlighter           0.6      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
                                      Reboot Mobile Exact #4
+thrive +cause               Broad    MKT_US_S - [Brand]           thrive cause                0.75      USD        7          22        31.82%    0.47      3.28     100.00%      100.00%        0           0        0        0.00% 149.1
+cosmetics                            General                      cosmetics
thrive causernatic           Broad    S - Remarketing_Checkout     Thrive Causematic               1     USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
                                      Visit NB


+thrive +causemetics         Broad    MKT_US_S - [Brand]           Cleanser: thrive            0.99      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
+facial +cleanser                     Skincare                     causemetics facial
                                                                   cleanser
thrive cosmetics infinity    Exact    S - Branded                  Th rive Cosmetics           0.17      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
waterproof eyeliner                   Reboot_Desktop_BMM_FE Infinity Waterproof
reviews                               MALE                         Eyeliner Reviews


thrive cosmetics             Exact    S - Branded                  Th rive Cosmetics           0.24      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
eyebrow pencil                        Reboot_Desktop_BMM_FE Eyebrow Pencil
                                      MALE
thrive lip treatment         Exact    S - [Brand] Skincare_Lip Oil thrive lip                  0.99      USD       26         119        21.85%     0.9     23.51      85.19%       95.06%        1           0      23.51      3.85% 197.6
                                                                   treatment
thrive lipgloss reviews      Exact    S - Branded                  Thrive Lip Gloss            0.05      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
                                      Reboot_Mobile- Exact-         Reviews
                                      MALE
thrive eyelash adhesive      Exact    S - Branded                  Thrive Eyelash              12.3      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
review                                Reboot_Mobile- Exact-        Adhesive Reviews
                                      MALE
thrive lashes                Exact    S - Branded                  Thrive Eyelashes            0.13      USD        1          6         16.67%    0.65      0.65     100.00%      100.00%        0           0        0        0.00% 108.3
                                      Reboot_Mobile- Exact-
                                      MALE
thrive cosmetics water       Exact    S - Branded                  Th rive Cosmetics          10.82      USD        0          0         0.00%       0        0            0.00%     0.00%        0           0        0        0.00%    0
proof browliner                       Reboot_Mobile- BMM-          Waterproof
                                      FEMALE                        Browliner




                                                                                                                            282




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                                           Case 2:20-cv-09091-PA-AS Document 169 Filed 10/26/21 Page 30 of 30 Page ID #:8210
                                                                          Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)

Search keyword              Search            Campaign             Ad group         Keyword       Currency   Clicks   Impressions   CTR      Avg.CPC   Cost      lmpr.       lmpr.     Conversions    View-    Cost/     Conv.    Avg.
                            keyword                                                 max CPC                                                                    (Abs. Top)    (Top)%                  through   conv.     rate     CPM
                            match                                                                                                                                    %                                conv.
                             type
thrive makeup coupon         Exact    S - Branded             Thrive Makeup                   0     USD       14          88        15.91%    0.81     11.37     69.05%       88.10%        8           0      1.42      57.14% 129.2
                                      Action Desktop          Coupon
thrive causmetics eye       Phrase    S - In Market_Home &    Thrive Causmetics          6.25       USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
brightener                            Garden/Home Decor       Eye Brightener
thrive causmetics            Exact    S - Branded             Thrive Causmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
eyelashes jackie coupon               Action_Desktop          Eyelashes Jackie
                                                              Coupon
order thrive eyelashes       Exact    S - Branded             Thrive Eyelashes                1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
robin                                 Action_Desktop          Robin
shop thrive causemetics      Exact    S - Branded             Thrive Causemetics              1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
eyelashes jackie                      Action_Desktop          Eyelashes Jackie


order thrive                 Broad    S - Branded             Thrive Causemetics              1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
causemetics coupon                    Action_Desktop          Coupon
online
thrive causmetics focus     Phrase    S - Branded             Thrive Causmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
eye shadow review                     Reboot_Mobile- Phrase   Focus Eyeshadow
                                                              Reviews
thrive causmetics matte     Phrase    S - Branded             Thrive Causmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
lip stick                             Reboot_Mobile- Phrase   Matte Lipstick
thrive makeup brush         Phrase    S - Branded             Thrive Makeup                   1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
                                      Reboot_Mobile_Phrase    Brush
thrive cosmetics            Phrase    S - Branded             Th rive Cosmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
waterproof brow liner                 Reboot_Mobile_Phrase    Waterproof
reviews                                                       Browliner Reviews


thrive causernetics         Phrase    S - Branded             Thrive Causemetics              1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
eyebrows reviews                      Reboot_Mobile- Phrase   Eyebrows Reviews



thrive                      Phrase    S - Branded             Thrive                      0.9       USD       220       11,723      1.88%     0.39     85.27         0.00%     0.00%       22           0      3.88      10.00%   7.27
                                      Reboot_Mobile- Phrase
thrive infinity water       Phrase    S - Branded             Thrive Infinity                 1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
proof browliner review                Reboot_Mobile_Phrase    Waterproof
                                                              Browliner Reviews


thrive causemetics          Phrase    S - Branded             Thrive Causemetics         0.27       USD        2          13        15.38%    0.26     0.53          0.00%     0.00%        0           0        0        0.00% 40.77
amazon                                Reboot_Mobile- Phrase   Amazon


thrive cosmetics water      Phrase    S - Branded             Th rive Cosmetics               1     USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
proof eyeliner                        Reboot_Mobile- Phrase   Waterproof
                                                              Eyeliner
thrive cosmetics infinity   Phrase    S - Branded Travel      Th rive Cosmetics           1.5       USD        0          0         0.00%       0        0           0.00%     0.00%        0           0        0        0.00%    0
water proof browliner                 / Accommodations        Infinity Waterproof
                                                              Browliner




                                                                                                                       325



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